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Re: — Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al.
USDC Billings Division 20-CV-52-SPW-TJC
File No. 78280.001

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of
New York, Inc., et al.

USDC Billings Division 20-CV-59-SPW-TJC

File No. 78280.002

Counsel:

*also licensed in

North Dakota | Thank you for your patience as we prepared a response to Katy Gannon’s May 4, 2023,
letter concerning our request for evaluations by Michael Butz, PhD. We agree that our
agreement concerning the time, place, manner, conditions, and scope of the proposed

EXHIBIT

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June 1, 2023
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examinations should be memorialized, as is required by Rule 35, Fed. R. Civ. P.. I will discuss
this in further detail below.

Recordation

Please see Dr. Butz’s enclosed letter dated May 26, 2023. Your request for recordation is
agreeable as stated.

Timing and Scope-Attorney Client Privilege

Dr. Butz has provided some general parameters concerning the time allotment and number of
days for the exams to take place. We hope you will agree a flexible approach to this issue is best
considering the unique clinical presentation of the individual examinees. Please let us know if
Dr. Butz’s proposal is acceptable. We do not believe we can or would be required to propose
more exacting time limits, as the same would unfairly prejudice Dr. Butz’s clinical and
professional judgment and materially interfere with the exam process.

As to questions concerning the instances of alleged childhood sexual abuse, Dr. Butz will be
thoroughly prepared for these examinations, as he has been supplied with all relevant discovery,
including medical records, and depositions. It should be reasonably assumed, considering Dr.
Butz’s qualifications, that he has the professional judgement not to ask questions absent a
legitimate clinical purpose for doing so. While Plaintiffs have indeed been questioned about their
alleged instances of abuse, they have not been questioned by someone with Dr. Butz’s education,
training, and clinical expertise. Instead of preparing a ham-fisted agreement in this regard, we
propose a degree of deference to Dr. Butz, who will no doubt conduct his examinations in a
reasonable and respectful manner consistent with the needs of his clinical assessments.

Dr. Butz has also offered some general observations concerning the scope of exams. The
Montana Supreme Court explained the difficulty in specifying scope in exacting terms, but
nonetheless ruled scope must be defined in “at least in a general sense.” Winslow v. Montana
Rail Link, Inc., 2001 MT 269, J 15, 307 Mont. 269, 38 P.3d 148. Relying on U.S. Supreme Court
precedent, the Court in Winslow held a proper scope of an examination to be determining the
“existence and extent” of the claimed injuries. /d., at § 16 (citing Schlagenhauf v. Holder, 379
U.S. 104, 85 (1964)). Plaintiffs have placed their psychological and emotional conditions
squarely at issue in this case by claiming damages secondary to childhood sexual abuse. Dr. Butz
will be evaluating Plaintiffs to determine the existence, nature, and extent of those claimed
psychological and emotional injuries.
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June |, 2023
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One further note about timing and scope. It is our opinion any order by Judge Watters in this
case is very likely to conform to Magistrate Judge Cavan’s recent order in Copenhaver v.
Cavagna Grp. S.p.a Omeca Div., 2021 WL 3171787, at *7 (D. Mont. 2021), in which he held
“The scope of the neuropsychological examination will be the same as is typical for a
neuropsychological examination conducted by Dr. Sheppard. The Court will not otherwise limit
the scope of the examinations.” Considering the above authority, it is very unlikely Judge
Watters would impose the kind of stringent restrictions you seem to want to impose by
agreement.

Ryan Shaffer raised an additional issue concerning attorney-client privilege in an email dated
May 24, 2023. Dr. Butz has agreed in his letter that he will not ask questions concerning
Plaintiffs’ privileged communications with counsel, law firm staff, or consultants. That said, we
would expect you as Plaintiffs’ attorneys will appropriately advise Plaintiffs not to voluntary
divulge the contents of any privileged communications such that a waiver of privilege would
occur. We will not prospectively agree to strike portions of Dr. Butz’s report because Plaintiffs
voluntarily supplied privileged information during the course of the exam.

Location of Cackaert and Mapley Exams

As previously discussed, Dr. Butz steadfastly maintains that examinations of this nature cannot
be conducted remotely without materially impacting their degree of scientific certainty. Dr. Butz
has supplied us with the enclosed study from the American Psychological Associated to support
his reasoning. Relevant portions have been highlighted for emphasis. Unless this additional
information changes your mind, I am concerned we are at an impasse and will need to request a
ruling from the Court.

It also appears we may be at an impasse concerning the travel burden to attend in-person Rule 35
exams. The travel accomodations Dr. Butz offered are significant, both in terms of his time and
the additional licensing requirements of Arkansas and Australia respectively. Our request for
Plaintiffs to fund this accommodation by paying Dr. Butz’s travel costs is an abundantly
reasonable compromise. Our position remains that Plaintiffs must meet their obligations and
participate in litigation activities within the Billings Division where they filed suit. If neither of
these scenarios are workable, we will need to request the assistance of the Court.

Hf
/
Hf
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June 1, 2023
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Given our need to proceed with the requested examinations, this is the last letter | am going to
write on the subject. | propose that we draft a memorandum of agreement for those stipulated
aspects of the exam and prepare a list of issues that need to be submitted to the Court on a
Motion to Compel to the extent we cannot agree.

Sincerely,
four ff
fof Aa Veo : OE pment
Brett C. Jensen
BCI
ce! Joel M. Taylor (via e-mail);

Gerry Fagan, Christopher Sweeney, Jordan Fitzgerald (via e-mail)
Case 1:20-cv-00052-SPW Document 267-7 Filed 09/27/23 Page 5 of 24

May 25, 2023

Brett C. Jensen, Esq.

Brown Law Firm, P.C.

315 North 24" Street

EO. Drawer $49

Billings, Montana 59103-0849

RE: Correspondence regarding request for evaluations of Plaintiffs, Rule 35, Caekaert & Mapiey v.
Watchtower Bible and Tract Society of New York, Inc., et al. and Rowland & Schulze v. Watchtower
Bible and Tract Society of New York, Inc., et al. (Letter 5.4.23, Email 5.8.23).

Dear Mr. Jensen:

We have been in correspondence since May 8" on these matters, and as discussed, | did have
other pressing matters that prohibited more immediate consideration and responses that |
anticipated would delay my response until the 19". Unfortunately, in the midst of these matters
| became ill and only began to rally on Monday. So, | do apologize to all parties for my delay in
responding. Thus, | have received your email of the 8th and the attached letter from the 4th by
Ms. Gannon. Our office also received your email on the 24% involving questions regarding
attorney-client privilege, and this will be feathered into my response to one of the items from the
prior letter. In this letter, as before, | will address these correspondences by use a numbering
systern to organize my responses.

Recordation
First, as to. recordation, yes this is agreeable as stated.

Timing and Scope; and Attorney-Client Privilege (5.24.23)

As to the second point, timing and scope, that depends on the examinee. Some examinees speak
or work faster than others, while plainly others move at a slower pace. Some ask more questions;
athers elaborate longer answers, etc. So, the best | am able to offer is an estimate of the time
frames involved. These are only estimates as | have experienced extremes as an evaluator in
either direction. In most cases, an assessment such as this one will require a somewhat long day.
depending on how an examinee responds. If the duration is more lengthy, sometimes an
additional session may be added.

These are conservative estimates, and the recorded portion of the psychological assessment will
be between one and a half hours ~ to ~ three hours. Other portions of the psychological
assessment that involve standardized instruments, and will not be recorded, and is estimated to
run between six hours — to ~ nine hours. To accommodate the proposal of two days, with breaks,
six hours each day, one directly succeeding the other, appears to be the most reasonable
approach.

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Now, there is no way to know what will come up in an assessment when a client is asked any
number of questions that involve indirectly or directly touching on aliegedly traumatic
experiences given the nature of the assessment. Thus, the idea that literally, ‘the matter in
question’, is somehow off limits as a topic in this assessment makes little sense given the plaintiffs
having raised these matters to begin with. It is the whole purpose of conducting the psychological
assessment. Further, there are naturally questions that arise from the answers provided in earlier
testimony, questions that | would have as an evaluator which differ from those provided by
attorneys in light of the substantial literature about coming to discern the contours of such
allegations. Plainly, efforts will be made to be compassionate in the nature of the questions
provided and there will of course be efforts to maintain rapport, but to suggest that questions
about the matter in question are unnecessary simply does not hold.

Email of 5.24.23

As to the matter of attorney-client privilege, | will obviously have no way of knowing when
someone is divulging something that they have ‘only’ shared with their attorney. Of course, | will
not be asking any of the plaintiffs ‘What have you and your attorney discussed (?)’. That would be
not only inappropriate, but unethical. It is plain that the onus for not sharing this material lies
with the attorney, and more squarely their client during the assessment process. A request to
strike statements from the record after-the-fact struck me as odd. Actually, in a fashion akin to
colloquially asking for a, ‘do-over’. You, nor i, would have any way of knowing, nor shall we ever
know, whether these matters were directly, or tacitly, involved in a privileged discussion between
the attorney and the client.

Accommodation

Some instruments that will be administered require certain intervals of time to complete in full,
and these intervals will need to remain intact, while other instruments do not have these
requirements. So, breaks at forty-five-minute intervals across the majority of the assessment will
be acceptable and will be built into the administration times. However, to keep to the time frames
provided above, the length of these breaks should not be excessive. There will be a lunch break
for an hour on each day, and it is envisioned that breaks will be between five and ten minutes.
Otherwise, the time frames above simply will not work.

Location of Mrs. Caekaert’s IME

It is my understanding that she is located in Arkansas and given the last correspondence | did look
into interdisciplinary practice in that state. It will require an application via one of my state
licenses, but | can certainly make arrangements to practice there. My earlier remarks about
remote administration remain in a forensic case like this, the representative literature is clear on
the matter of assessment limitations', and face-to-face psychological assessment is the gold
standard holding the greatest degree of scientific certainty.

' Daffern, M., Shea, D. E., & Ogloff, 1. R. (2021), Remote forensic evaluations and treatment in the time of COVID-19:
An international survey of psychologists and psychiatrists. Psychology, Public Policy, and Law, 27(3), 354-369.
https://doi.org/10.1037/law0000308

Bitz Response — Correspondence ‘Request for Evaluations’
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Ms. Mapleye’s IME
My earlier remarks about remote administration remain in a case like, and please see my remarks
directly above.

it is my hope that this letter addresses the matters raised in your email of the 8%, the attached
letter on the 4th from Ms. Gannon, and your email on the 24". As always, if there are any needed
clarifications and/ogaquestions, please feel free to contact our office.

Fellow, American Psychological Association
Licegsed Psychofogist

Moritana #26*

Virginia #0810007438

Wyoming #818

KC! File.

Butz Response ~ Correspondence ‘Request for Evaluations’
Case 1:20-cv-00 35P ecument 267,72 Ejled 09/27/2
Psychology, Public Policy, and Law °°" Page ® of 24
Remote Forensic Evaluations and Treatment in the Time of COVID-19: An

International Survey of Psychologists and Psychiatrists

Michael Daffern, Daniel E. Shea, and James R. P. Ogloff
Online First Publication, May 6, 2021. http://dx.doi.org/10.1037/law0000308

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Remote Forensic Evaluations and Treatment in the Time of COVID-19:
An International Survey of Psychologists and Psychiatrists

Michael Daffern''?, Daniel E. Shea’, and James R. P. Ogloff*
! Centre for Forensic Behavioural Science, Swinburne University of Technology
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Workplace restrictions associated with the coronavirus (COVID-19) pandemic have resulted in
increased tele-service use by forensic psychologists and psychiatrists. This article describes the results
of a survey of 295 psychologists and psychiatrists concerning their experiences and opinions of forensic
tele-service work. Participants identified a range of benefits to using audiovisual (AV) conferencing
technologies, including efficiency, convenience, ease of access, safety, client comfort, and flexibility.
However, issues were also reported, including concerns that some asp of the tal status examina-
tion, specifically appearance and behavior and affect, may be difficult to assess. There were aiso some
clinical conditions that were considered by participants to be unsuitable for tele-servicing. Although
most participants believed that the therapeutic relationship was less satisfactory when using AV confer-
encing as compared with face-to-face interactions, on average, participants were satisfied with the thera-
peutic relationship that was developed. Further, some participants (n = 38, 27.1%) reported that clients
had expressed a preference for remote engagement, but a similar number reported that some had
expressed concerns about receiving treatment remotely (n = 38, 26.4%). Although recent training and
experience were associated with confidence, perceived confidence, and satisfaction with tele-services,
fewer than half of participants (n = 112, 44.8%) had received training in tele-service use. Overall, there
appears to be a range of benefits to using tele-services for remote forensic assessment and treatment
practice, but there are issues that need to be considered, and best-practice guidelines require

development.

Keywords: tele-services, COVID-19, psychology, psychiatry

Supplemental materials: https://doi.org/10.1037/iaw0000308.supp

The use of tele-services' to provide mental health care is
becoming increasingly common (Sales et al., 2018), with unprece-
dented uptake during the workplace restrictions associated with
the global coronavirus (COVID-19) pandemic. Forensic mental
health practice has been profoundly transformed by COVID-19.
Professionals have been forced to consult with clients remotely in
the context of public health restrictions, due in part to the recogni-
tion of prisons as particularly vulnerable settings (World Health
Organization, 2020).

Workplace restrictions associated with COVID-19 may pass,
but at the time of writing (mid-2020-early 2021), it appears that
these restrictions will likely remain for the foreseeable future. It is

Daniel E. Shea © https:/forcid.org/0000-0003-2962-3853

The concepts and data presented in this article have not been presented
or otherwise disseminated previously. We gratefully acknowledge Julia
Nazarewicz for assistance with the literature review.

Correspondence concerning this article should be addressed to Michael
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Technology, Level 1, 582 Heidelberg Road, Alphington, VIC 3122, Australi

also possible that the demand for tele-services during these
COVID-19 workplace restrictions will result in increased familiar-
ity and even a preference for this type of work over face-to-face
consultations in the future. Determining whether face-to-face
assessments should be prioritized when this is possible and deter-
mining whether there is a role for tele-service use within forensic
practice demands rigorous interdisciplinary (ie., psychiatry, psy-
chology, and law) scrutiny. In particular, it is important to deter-
mine the degree to which the use of tele-services can meet
accepted practice standards and to develop specific guidance for
those using tele-services for forensic mental health work, all while
recognizing the relative merits and limitations of remote and face-
to-face practice. If it can be established that remote practice can
produce outcomes equivalent—if not identical—to those resulting
from in-person contact, then this will constitute powerful support
for the use of tele-services. This equivalence has been discussed as

| wrete-services” is the term most often employed in the literature and
the one we have chosen to describe a range of mental health services
delivered via audio/video or telephone communication technologies. “Tele-
f ing” is used ¢ ionally throughout this article to refer to the use
of telephone (no visual capability) communication, and “audio-visual (AV)
conf ing” is used to describe videoconferencing facilities where both

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audio and visual communication is employed.
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2 DAFFERN, SHEA, AND OGLOFF

a form of reliability by some authors (e.g., Sales et al., 2018), and
we will use the terms “reliability,” “consistency,” and “equiva-
lence” throughout this article. Importantly, this would allow prac-
titioners to proceed with confidence in the defensibility of remote
practice against possible challenges from colleagues, legal advo-
cates, courts, and clients.

A preference for face-to-face assessments is fairly common
among psychologists and psychiatrists (Manguno-Mire et al.,
2007), although several studies have reported that mental health
service users and professionals are satisfied with tele-services as a
form of mental health care in clinical (Batastini et al., 2016;
O'Reilly et al., 2007; Thomas et al., 2005) and forensic settings
(Farabee et al., 2016; Lexcen et al., 2006; Morgan et al., 2008).
Some have championed the responsible use of tele-services for
forensic work (e.g., Adjorlolo & Chan, 2015; Dale & Smith,
2020). Indeed, evidence exists to suggest that tele-services may be
particularly helpful under some circumstances. For example,
‘Tucker et al. (2006) found that some prisoners felt more comforta-
ble discussing their history of sexual abuse victimization during
tele-service consultations. Despite this, some clients have
expressed doubts concerning the privacy (Myers et al., 2006) of
tele-service consultations, and clinicians have expressed a range of
concerns, including those relating to admissibility of evidence
gained through tele-service work within court (Batastini et al.,
2020). These latter fears are not unfounded. Despite the lack of ro-
bust data on consensus within the judiciary, some judges have
expressed concern with expert evidence derived from the use of
tele-service platforms (see, e.g., judicial comments in Department
of Public Prosecutions v. Wardle [2019] and Department of Public
Prosecutions v. Amerasekera [2019]), although such negative
views are apparently not unanimous (cf. Batastini et al., 2020).

Ultimately, doubts about the consistency between face-to-face
and remote forensic mental health practice are best resolved
empirically. Until there is a substantial independent evidence base
supporting its use, the legitimacy of tele-practice relies on its con-
sistency with face-to-face practice. Some researchers have demon-
strated that information obtained during forensic tele-service and
face-to-face interviews is similar (Lexcen et al., 2006; Manguno-
Mire et al., 2007). However, this work is limited and dated. Crit-
ically, the implications of tele-service use for the therapeutic rela-
tionship,” standardized testing, and other related areas must be
adequately understood.

Norwood et al.’s (2018) recent meta-analysis found mixed
results with respect to the often-presumed disparity between thera-
peutic relationships established through face-to-face and tele-
service contact. Across studies, key clinical outcomes were equiv-
alent (cf. Umess et al., 2006; in which only telepsychiatry—and
not clients receiving face-to-face consultation—showed sympto-
matic improvement). Although there was some evidence that the
therapeutic relationship was initially inferior via tele-service con-
tact, the overall pattern of results indicated that the therapeutic
relationship was nevertheless consistently strong. Further, the per-
ceived modality difference in the therapeutic relationship was both
more pronounced among clinicians than clients and attenuated
over subsequent sessions (Norwood et al., 2018).

Standardized testing “represents one of the core areas of foren-
sic psychology practice” (Adjorlolo & Chan, 2015, p. 193). On its
face, administering and scoring some psychological tests presents
a range of significant challenges for practitioners conducting

assessments using tele-services. Published tests have more or less
rigid administration protocols, departures from which may risk
invalidating test results. Many have not been standardized for tele-
service administration (or even oral administration during a face-
to-face assessment). Although some tests produce high levels of
agreement between videoconference and face-to-face interviews
(Manguno-Mire et al., 2007), it has been observed that some tests
are more difficult to administer using tele-services (Hubley et al.,
2016), particularly those that require manual manipulation of test
items. This concern notwithstanding, a recent meta-analysis
broadly supported the use of videoconferencing technology for
neuropsychological testing, despite caveats about slow connec-
tions, older clients, and. specific assessment tasks with motor com-
ponents (Brearly et al., 2017). Given these cautions, optimal
testing practice must involve the selection of appropriate tests,
including those least affected by any limitations due to the admin-
istration medium.

Tele-services have generally become a reliable medium for
mental health service (treatment) delivery, with several reviews
finding comparable clinical outcomes between people treated via
traditional face-to-face interventions and those who receive inter-
ventions delivered remotely (Hubley et al., 2016, Langarizadeh et
al., 2017; Richardson et al., 2009). More recently, forensic psy-
chologists and psychiatrists have used tele-services to assess and
treat forensic clients, often in conjunction with face-to-face con-
sultations (Luxton et al., 2019). Several studies have found that
tele-services are a viable way of providing mental health care for
underserviced and difficult-to-reach forensic populations, includ-
ing incarcerated youth (Nelson & Sharp, 2016), adult prisoners
(Leonard, 2004; Richardson et al., 2009), and victims of family vi-
olence in rural areas (Thomas et al., 2005). Although some courts
have used videoconferencing to facilitate the provision of testi-
mony and witness examination in both criminal and civil cases
(Miller et al., 2005), the standing of tele-services in relation to the
acquisition of expert evidence (i.¢., the assessment of clients) in
criminal cases remains unclear.

It is also important to identify any limitations in the range of
tasks (e.g., mental state evaluations, competency/fitness to stand
trial, criminal responsibility/insanity assessments) and populations
for whom tele-services ate appropriate. Tele-services may be
unsatisfactory or impractical for use with some clients with perso-
nal histories, qualities, or clinical problems for whom such a mo-
dality would be contraindicated (Myers et al., 2006). For instance,
significant visual or hearing impairments, acute clinical symptoms
(e.g., psychosis), or intellectual disability could affect the reliabil-
ity and efficacy of tele-service assessments (Luxton & Lexcen,
2018). Similarly, although some authors have considered whether
tele-services may be useful to enhance the reach of mental health
services for, for example, Indigenous Australians in regional and
remote locations (Caffery et aJ., 2017), there is a general lack of
research on the use of tele-services among people with various
ethnic, cultural, or linguistic backgrounds.

Moving beyond simple comparisons with face-to-face practice,
the most important question is whether remote practice using tele-
services can meet objective standards of adequacy. Several

2We have used the term ‘therapeutic relationship” to refer to the
concept of the “working alliance,” as characterized by Bordin (1979).
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REMOTE PORENSIC EVALUATIONS AND TREATMENT 3

practical and ethical issues are pertinent when considering the
use of tele-services with forensic populations. Threats to the se-
curity of confidentiality. privacy, aed security and issues per-
laining to assessors obtaining written informed consent arise
with tele-service practice (Batastini et al. 2020, Khalifa ef al,
2008; Myers et al, 2006). Difficulties obtaining written
informed consent w access information from third-party sources
may result in consent being waived of assessors simply not
seeking corroboration from others. This may undermine the
reliabiliy and validity of assessment findings. Finally, equip-
ment failure, maintenance and sustainability costs, and band-
width or connectivity issues (Adjerlolo & Chan, 2015; Sales et
al, 2018): threats from computer viruses or hackers; and theft
or damage to hard drives or portable drives, failuce of security
systems, faulty software, and malfunctioning or outdated tech-
nology may all comprorise the privacy of confidential assess-
ment data and the efficiency and flow of foransic asscsements
‘American Poychological Association, 2613). Akhough some
solutions to these problems ure beginning to emerge, much
more effort is required to engure appropriate procedures are
developed and used.

Ultimately, evidence supporting the use of tcle-services for
forensic evaluations and interventions remains limited. Ques-
dons temain regarding the extent to which assessments con-
ducted via tele-services are reliable. Despite a growing
evidence base about the acceptability of such modalities among
forensic psychologists and psychiatrists, legal practitioners, cli-
ents, and courts, existing research remains preliminary, typi-
cally yelying on smaller samples from one or only a few
furisdictions. Although reviews and meta-analyses are critical
for generalizing research findings, they are limited by the vol-
ame and breadth of the extant literature, As such, further study
is clearly warranted to replicate and catend existing findings
about remote tele-service practice versus face-to-face practice,
along with the breadth of suitable applications, relative merits,
and objective adequacy of forensic tele-practice.

The Current Study

We developed a survey to explore tele-service use among foren-
sic psychologists and psychiatrists. along with issues of training,
acceptability, reliability, applicability, and integrity of tele-serv-
ices. We aimed to rapidly collect insights to guide practice and to
agaist courts in understanding the implications of tele-service work
from the perspective of practitioners. Surveys provides a swih,
inexpensive, and straightforward method of gathering information
from a relatively large and diverse sample of practitioners. Given
the urgent and unprecedented changes to correctional services, for-
ensic mental health, and court operations during the workplace
restrictions associated with the COVID-19 pandemic, we consid-
eted a survey of practitioners’ perspectives to be a relevant foun-
dation for this task. We also sought ta explore the role of practical
experience and specific waining in confidence, perceived compe-
tence, and satisfaction with the use of tele-services for forensic
work.

Method

Participants

Foor hundred and six people from a range of professions and
with a variety of experiences with forensic work responded to the
survey. Because we were interested in the experiences of psychal-
ogists and psychiatrists with forensic experience and expertise, we
excluded respondents Hf they were not psychologists ar psychia-
trists and if they lacked either apecialized forensic accreditation
{as recognized in their jurisdictions) or had not yet gained at least
2 years of forensic practice experience. This left a final sample of
295 participants aged between 26 and 82 years Gnean (Af) = 47.69,
standard deviation [SD] = 12.05}, who reported between 6 months
and 49% years (Af = 1442, §D = 10.13) of forensic experience.
Most were paychologista (n = 224, 75,94), and a slight majority
identified as female (9 = 167, 36.6%). Most reported that they
mainly practiced in Anglophone jurisdictions, including Australia
{n= 122, 41.4%), the United States (n & 73, 77.455), New Zealand
(a= 35, 11.9%), Canada (a = 27, 9.2), of the United Kingdors (2 =
20, 6.89%). However, 14 (4.7%) reported practicing primarily in ei-
ther non-Anglophone or multiple jurisdictions, and 8 (2.7%) did
not provide this information.

Materials

The authors developed a survey specifically for this project (ihe
full survey js available in the online supplemental materials). The
survey included questions pertaining to forensic psychologists’
and psychiatrists’ use of tele-services for assessment and treatment
prior to and during the workplace restrictions associated with the
COVID-19 pandemic, The initial questions asked about experien-
cea with both telephone services and AV conferencing (see Table
1}. All subsequent questions focused on the use of AV conferenc-
ing (Tables 2-5), including experiences of taining in the use of
AY¥ conferencing and psychologists’ and psychiwtrists’ confidence,
perceived competence, and satisfaction with the use of AV confer-
ancing technology (questions about confidence and perceived
competence were asked separately for clinical/diagmostic, risk,
competency, and other assessments, along with treatment). The
items pertaining to confidence, perceived compeience, and satis-
faction were each rated on a 5-point scale, from | (Net at all} to 3
(Very). Questions regarding practitioners’ perspectives on the reli-
ability, applicability, acceptability, and integrity of tele-services
included questions pertaining w experiences of being challenged
by clients or the courts for presenting expert testimony or conduct-
ing forensic weatment via tele-services, whether psychologists and
psychiatrists could identify limitations to using AV conferencing,
barriers to using AV technologies, whether there are particular
aspects of clients’ mental state that are more difficult to assess
with tele-services, and whether there are any personal or clinical
qualities of clients that compromise tele-service assessments,

Most survey questions returned categorical {including dichato-
mous} or ordinal data, A number of questions invited free-text
responses. Some of these items allowed for the inclusion of sup-
plementary information to other questions (..c., an “Other (please
elaborate!" response). To present these data in a meaningful, con-
cise fashion, some variables were recoded into a series of categori-
cal variables (e.g.. the responses On the free-text conferencing
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Table 1
Use of Remote Communication Technology Before and After the Commencement of COVID-19
Workplace Restrictions
Assessment Treatment
Teleservice type and use Before After Before After
Telephone
Yes 43 (14.6) 85 (28.8) 23 (7.8) 78 (26,4)
No 249 (84.4) 195 (66.1) 261 (88.5) 200 (67.8)
Missing/unknown 3 (1.0) 15 (5.1) 11 (3.7) 17 (5.8)
Telephone episodes
0 249 (84.4) 195 (66.1) 261 (88.5) 200 (67.8)
1-5 16 (5.4) 50 (16.9) 10 3.4) 31 (18.5)
6-10 7QA4) 23 (7.8) Say 19 (6.4)
1i~20 57) 8 (2.7) 4(4) 14(4.7)
21-30 4 (1.4) 1 (0.3) 2(0.7) 724)
31-40 10.3) 0 (0) 10.3) 0 (0)
4150 2.7) 2 (0.7) 00) 1 (0.3)
More than 50 41.4 1 (0.3) 1 (0.3) 414)
Missing/unknown 7 (2.4) 15 (5.1) 113.7) 19 (6.4)
Audiovisual conferencing
Yes 107 (36.3) 177 (60.0) 48 (16.3) 84 (28.5)
No 181 (61.4) 103 (34.9) 236 (80.0) 190 (64.4)
Missing/unknown 8 (2.7) 15 (5.1) 116.7) 217.4)
Audiovisual episodes
0 181 (61.4) 103 (34.9) 236 (80.0) 190 (64.4)
1-5 45 (15.3) 93 (31.5) BED 32 (10.8)
6~10 14 (4.7) 37 (12.5) 41.4) 18 (6.1)
11-20 14 (4.7) 27 (9.2) 6 (2.0) 17.8)
21~30 7QA4) 10 3.4) 207 6 (2.0)
31-40 5D 207 5 (1.7) 4(h4)
41-50 3 (1.0) 2 (0.7) 0 (0.0) 1(03)
More than 50 17 (5.8) 57) 6 (2.0) 57
Missing/unknown 9G 16 (5.4) 1224.) 22 (7.5)
Lifetime audiovisual episodes Assessment Treatment
0 89 (30.2) 184 (62.4)
1-10 108 (36.6) 48 (16.3)
More than 10 90 (30.5) §1 (17.3)
Missing/unknown 8 (2.7) 12 (4.1)

platform were recoded into both specific platforms and grouped
into platform types). In most cases, responses to free-text ques-
tions were manually reviewed by Daniel E. Shea, with common
themes identified and specific, illustrative quotations included as
appropriate. Themes were identified using a “bottom-up” approach
based on actual responses rather than predefined categories. Some
questions pertained to the use of tele-services more generally,
whereas others focused specifically on the use of AV platforms
only. Where AV was the focus of the question, this is noted.

Procedure

The survey was distributed via various forensic psychology and
forensic psychiatry, or related, organizations: Australian and New
Zealand Association of Psychiatry, Psychology and Law; Cana-
dian Psychological Society; New Zealand Psychological Society-
Forensic Division; American Psychology Law Society (Division
41 of the American Psychological Association), Intemational
Association of Forensic Mental Health; Asia Pacific Association
of Threat Assessment Professionals; Forensic Faculty of the Royal
Australian and New Zealand College of Psychiatrists; and the
Royal College of Psychiatrists Quality Network for Forensic Men-
tal Health. Some of these organizations alerted members/

subscribers to the research via an email, whereas others posted in-
formation about the survey on their websites. Additionally, we
used personal contacts and encouraged a snowballing methodol-
ogy to facilitate recruitment.

Because it was not possible to determine how many people
received the survey link, it was not feasible to determine the
response rate. The survey was launched on April 29, 2020, and
closed on June 3, 2020. Ethical approval to conduct the research
was granted by the Swinbume University of Technology Human
Research Ethics Committee (Reference: 20202986-4291).

Statistical Analyses

All statistical analyses were conducted using Statistical Package
for the Social Sciences (SPSS), Version 26. Comparisons between
pre- and postrestriction technology usage of tele-services were
made using Wilcoxon signed-ranks tests. Discipline comparisons
for the timing of training in the use of AV technologies were
undertaken using chi-squared tests of independence with Bonfer-
roni-adjusted (overall a = .05) post hoc testing. Logit ordinal
regressions were used to isolate differences in confidence, per-
ceived competence, and satisfaction.
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Table 2
Predictors of Confidence With Using Audiovisual Conferencing for Assessments
Predictors and test statistic B Wald P OR 95% Cl
Confidence with clinical/diagnostic assessment
Professional discipline ~O417 LR x? = 0.26 607 0.14 [0.03, 0.58]
Gender identity 0.78 LR Y= 7.33 007 218 [1.24, 3.86}
Age in years ~0.04 LR yx? =0.12 15 1.00 (0.97, 1.02]
Trained in AV technology df =2 LR? = 441 10
Within last year vs. none 0.56 3.83 050 1.75 {1.00, 3.05]
> 1 year ago vs. none —0.10 0.07 TH 0.91 [0.44, 1.88]
Previous uses of AV technology df=2 LR x? = 36.52 >.00t
Li+ vs. 0 2.04 34.07 >001 7.65 (3.65, 15.16]
1-10 vs. 0 1.05 11.46 001 2.84 {1.55, 5.20]
Goodness-of-fit statistic
Pearson df = 769 2 = 694.03 975
Deviance df = 769 x = $33.58 >.999
Proportional odds
Test of parallel lines df= 21 x? = 30.53 082
Confidence with risk assessment
Professional discipline 0.15 LR? =0.21 649 LAT {0.60, 2.25]
Gender identity 0.37 LR x? = 1.65 199 1.46 (0.82, 2.59]
Age in years ~0.17 LR y? = 1.72 190 0.98 {0.96, 1.01)
Trained in AV technology df=2 LR y? = 1.75 ALT
Within last year vs. none 0.30 1 292 1.35 [0.77, 2.36}
> 1 year ago vs. none —~0.20 0.29 593 0.82 (0.39, 1.72]
Previous uses of AV technology of =2 LR 7? = 30.17 <.001
11+ vs. 0 1.89 28.37 <.001 6.62 {3.30, 13.28]
1~10 vs.0 1.05 11.38 001 2.85 [1.55, 5.23]
Goodness-of-fit statistic
Pearson df= 737 xf = 731.05 555
Deviance df = 737 x? = 548.60 >.999
Proportional odds
Test of paralicl lincs df= 21 32 = 29.07 2
Confidence with competency assessment
Professional discipline ~0.23 LR x = 0.40 528 0.80 (0.39, 1.62]
Gender identity 0.78 LR < = 5,68 O17 2.19 (1.14, 4.19]
Age in years ~0.01 LR? =0.41 520 0.99 [0.97, 1.02]
Trained in AV technology df=2 LR y? = 4.58 101
Within last year vs. none 0,52 2.57 A109 1.68 {0.89, 3.18}
> 1 year ago vs. none —0.38 0.87 351 0.68 {0.31, 1.52]
Previous uses of AV technology df=2 LR y= 11.21 004
il+ vs. 0 1.25 10.53 001 3.50 [1.64, 7.45]
1~10 vs. 0 0.79 5.21 022 2.20 {1.12, 4.32]
Goodness-of-fit statistic
Pearson df = 601 2 = 588.50 634
Deviance of = 601 C= 441.58 >.999
Proportional odds
Test of parallel lines df=21 P= 2012 514
Confidence with other assessment
Professional discipline ~3.52 LR 7? = 9.85 002 0.03 {0.03, 0.31]
Gender identity 1.35 LR? =2.53 A12 0.26 [0.05, 1.40]
Age in years ~0.09 LR? = 4.71 .030 0.92 [0.84, 0.99)
Trained in AV technology df=2 LR x? = 6.26 044
Within last year vs. none 2,40 §.51 O19 11.00 [1.49, 81.44]
> 1 year ago vs, none 0.66 0.45 503 1.93 (0.28, 13.27]
Previous uses of AV technology df= 2 LR x? = 4.38 2
1i+ vs. 0 1.86 3.08 O79 6.43 (0.81, 51.23]
1-10 vs. 0 0.37 0.12 728 1.44 {0.19, 11.09}
Goodness-of-fit statistic
Pearson df= 117 x? = 349.00 .000
Deviance df = 117 x? = 80.28 996
Proportional odds
Test of parallel lines df=21 y= 79.56 >.999
Confidence with treatment
Professional discipline —0.38 LR x = 1.09 296 0.69 (0.34, 1.39]
Gender identity 0.06 LR x? = 0.03 858 1.06 {0.56, 2.01}

(table continues)
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6 DAFFERN, SHEA, AND OGLOFF
Table 2 (continued)

Predictors and test statistic £8 Wald Pp OR 95% CI
Age in years 0.02 LR y? = 2.42 120 0.98 (0.95, 1.01]
Trained in AV technology df=2 LR xy? = 6.29 043
Within last year vs. none 0.83 6.20 O13 2.30 (1.19, 4.44]
>1 year ago vs. none 0.29 0.46 498 1.34 {0.58, 3.10)
Previous uses of AV technology df=2 LR x? = 8.03 018
11+ vs. 0 0.94 7A8 007 2.57 [1.29, 5.12]
1-10 vs. 0 0.59 2.79 095 1.81 [0.90, 3.62]

Goodness-of-fit statistic
Pearson df = 585 x? = 510.87 988
Deviance df = 585 x? = 412.96 >.999
Proportional odds
Test of parallel lines df=21 x? = 32.40 053

Note. OR = odds ratio; CI = confidence interval; LR i? = chi-squared test statistic based on likelihood ratio for
predictor in final model; AV = audiovisual; df = degrees of freedom. Multicollinearity tested for cach outcome

analysis. No qualifying cases in final analysis.

Results

Use of Tele-Services

The use of tele-services by participants, both before and after
the imposition of COVID-19 workplace restrictions in their juris-
diction, is included in Table 1, The original survey requested sepa-
rate estimates of uses of AV services for assessment and treatment
tasks for the pre- and postrestriction time frames. Despite this, we
deemed total experience with the technology to be most relevant.
As such, we combined pre- and postrestriction A V-usage variables
into lifetime values indicating 0 uses (naive), 1-10 uses (exposed),
and 11 or more uses (experienced). To do this, we summed the
ranges of the pre- and postrestriction variables in each case such
that, for example, 0 uses prior to restrictions and 6-10 uses follow-
ing their imposition would produce a range of 6-10 total uses, fall-
ing into the exposed range (1-10). There was only one
combination (i.¢., 1~5 and 6-10 uses) for which the combined
range (7~15) spanned across the exposed (1-10) and experienced
(11 or more) ranges. We classified these cases by assigning the
middle possible value (11), which fell into the experienced (11 or
more) range. We produced separate variables in this way for
assessment and treatment uses.

Overall, a total of 232 (78.6%) participants reported any lifetime
use of AV conferencing as part of their practice. They used a wide
range of platforms, including general AV conferencing solutions
such as Cisco Jabber, Google Hangouts, Microsoft Teams, and
Adobe Connect (n = 160, 54.2%); dedicated tele-service solutions
such as Coviu, HotHealth, and Doxy.me (n = 33, 11.2%); inte-
grated practice management solutions such as PowerDiary and
SimplePractice (n = 3, 1%); and dedicated inmate communication
platforms such as CIDNET and HomeWAV (n = 4, 1.4%).

Assessment

Participants reported significantly greater use of tele-services
(Z=-2.73, p = 006, r= .11) and AV conferencing (2 = ~2.75, p=
.006, r = .12) technologies to conduct assessments following the
imposition of workplace restrictions associated with COVID-19.

Treatment

Participants also reported significantly greater use of tele-con-
ferencing (Z = -5.32, p < .001, r = .22) and AV conferencing (Z =
-3.48, p = QOL, r= .15) technologies to deliver treatment since the
imposition of workplace restrictions.

Training in Tele-Services

Fewer than half of participants (n = 112, 44.8%) had received
any training in tele-service use, although the timing differed
between disciplines, with psychologists significantly more likely
to have received training in the year prior to completing the survey
(34.7% vs. 16.7%), and less likely to have received training more
than 10 years ago (.5% vs. 6.7%). Due to small numbers in some
of these categories, training recency was recoded for subsequent
analyses into the categories of within the last year (7 = 76, 25.8%),
longer than a year ago (n = 36, 12.2%), and never trained (n =
138, 46.8%), with no data available for the remaining participants
(n= 45, 15.3%). Of the 250 participants who responded to all rele-
yant items, less than half (n = 94, 37.6%) were both trained in AV
conferencing technology and had used this in practice. Put another
way, this meant that 83.9% of trained participants (n = 112) had
used AV conferencing, but 45.2% of those who had used the tech-
nology (n = 208) had never received training in its use. For those
who had completed training, the training was received via online
professional development ( = 72, 66.7%), workplace training
(a = 30, 27.8%), in-person professional development (n = 24,
27.8%), or as part of obtaining qualifications (n = 2, 1.9%). Others
reported learning about the use of tele-service technologies
through clinical supervision (n = 10, 9.3%); consultation with
knowledgeable others, including peers (n = 3, 2.8%), or self-
directed learning (n = 2, 1.9%).

Attitudes Toward Audiovisual Conferencing
Technology

A series of analyses was conducted to gauge the relative contri-
butions of professional discipline, age, gender identification, train-
ing, and prior experience with conducting assessment or treatment
using AV conferencing technology on perceived confidence,
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Table 3
Predictors of Perceived Competence With Using Audiovisual Conferencing Assessments
Predictors and test statistic B Wald Pp OR 95% CI
Perceived competence with clinical/diagnostic assessment’
Professional discipline ~0.34 LR ¢ = 0.83 362 0.71 {0.34, 1.49]
Gender identity 0.60 LR y= 3.44 .064 1.82 [0.96, 3.45]
Age in years 0.00 LR yx? = 0.01 978 1.00 (0.97, 1.03]
Trained in AV technology df=2 LR? = 7.37 025
Within last year vs. none 0.84 6.17 013 231 [1.19, 4.46]
>I year ago vs. none —0.16 0.15 703 0.86 [0.39, 1.90}
Previous uses of AV technology df=2 LR x? = 27.20 <,001
11+ vs. 0 1.91 24.74 <.001 6.77 (3.19, 14.37]
1-10 vs. 0 1.09 10.73 001 29 [1.55, 5.74]
Goodness-of-fit statistic
Pearson df=371 2 = 350.58 770
Deviance of = 371 = 332.06 928
Proportional odds
Test of parallel lines df=7 x? = 8.15 320
Perceived competence with risk assessment*
Professional discipline 0.06 LR x = 0.03 874 1.06 [0.52, 2.15]
Gender identity 0.55 LR 2 = 2.85 091 L73 (0.91, 3.29}
Age in years —0.03 LR y? = 3.72 054 0.98 [0.95, 1.00]
Trained in AV technology df=2 LR? =2.12 347
Within last year vs. none 0.36 1.24 265 1.44 (0.76, 2.72}
>| year ago vs. none —0.26 0.43 S13 0.77 (0.36, 1.68]
Previous uses of AV technology =2 LR x? = 24.70 <.001
Li+ vs. 0 1.78 21.92 <.001 5.91 (2.81, 12.44}
1—10 vs. 0 1.21 13.06 <.001 3.37 {1.74, 6.50]
Goodness-of-fit statistic
Pearson af=359 x? = 355.93 536
Deviance df = 359 x? = 356.53 527
Proportional odds
Test of parallel lines df=7 2 = 9.50 218
Perceived cc ¢ with comp y
Professional discipline -0.21 LR 7 = 0.33 564 0.81 {0.40, 1.64]
Gender identity 0.83 LR 1? = 6.52 O1L 2.28 (1.21, 4.32}
Age in years ~0.01 LR x? = 0.90 343 0.99 (0.96, 1.01]
Trained in AV technology df=2 LR y? = 6.88 032
Within last year vs. none 0.82 6.23 013 2.27 {1.19, 4.33]
>| year ago vs, none —0.06 0.02 -889 0.95 [0.43, 2.08]
Previous uses of AV technology df=2 LR x? = 18.91 <,001
11+ vs.0 1.67 18.10 <,001 5.32 [2.46, 11.50]
1-10 vs. 0 0.90 6.93 008 2.46 [1.26, 4.79]
Goodness-of-fit statistic
Pearson df = 605 2 = 635.68 188
Deviance df=605 7? = 453.34 >.999
Proportional odds
Test of parallel lines df= 21 oP = 17.60 674
Perceived competence with other assessment
Professional discipline —0.94 LR ¢ = 0.86 355 0.37 [0.05, 3.07]
Gender identity 0.03 LR x? = 0.00 976 1.03 {0.19, 5.49]
Age in years 0.07 LR y? = 2.50 114 0.94 (0.86, 1.02]
Trained in AV technology df=2 LR x? = 0.83 659
Within last year vs. none 2.68 6.91 009 14.57 [{1.98, 107.47}
>I year ago vs. none 0.97 0.79 374 2.63 (0.31, 22.03]
Previous uses of AV technology df=2 LR ¥? = 8.60 14
11+ vs. 0 2.68 6.91 009 14.57 1.98, 107.47]
1-10 vs. 0 2.22 4.07 044 9.23 [1.07, 79.95]
Goodness-of-fit statistic
Pearson df=101 x? = 117.00 132
Deviance df = 101 x= 71.32 989
Proportional odds
Test of parallel lines df=21 x7 = 21.88 407
Perceived comp with *
Professional discipline —0.66 LR ¢ = 2.77 096 0.52 (0.24, 1.13]
Gender identity 0.33 LR y? = 0.89 346 1.40 {0.70, 2.80]

(table continues)
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Table 3 (continued)

Predictors and test statistic B Wald p OR 95% C1
Age in years ~0.03 LR? =4.53 033 0.97 [0,94, 1.00]
Trained in AV technology df=2 LR y? = 12.65 .002
Within last year vs. none 131 11.68 00L 37 [1.75, 7.87]
>I year ago vs. none 0.27 0.34 561 13h (0.53, 3.26]
Previous uses of AV technology df=2 LR x? = 12.39 002
11+ vs.0 1,23 951 002 3.41 {1.56, 7.43]
1-10 vs. 0 0.90 5.42 620 2.47 {L.15, 5.28]
Goodness-of-fit statistic
Pearson df = 291 2 = 272.21 719
Deviance df = 291 7 = 281.93 638
Proportional odds
Test of parallel lines df=7 7 = 6.54 ATS

Note. OR = odds ratio; CI = confidence interval; LR y? = chi-squared test statistic based on likelihood ratio for
predictor in final model; AV = audiovisual; df = degrees of freedom. Multicollinearity tested for each outcome

analysis.
“Due to a violation of the proportional odds

ption, perceived cc

ratings were converted to low

(1-2), medium (3), and high (4-5) for these analyses.

competence, and satisfaction with using AV platforms (see Tables
2-4).

Confidence

For the whole sample, confidence ratings were relatively con-
sistent across treatment (M = 3.41, SD = 1.04, median (Afd] = 4)
and the various types of assessment (clinical, M = 3.43, SD = 1.09,
Md = 4; risk, M = 3.33, SD = 1.10, Md = 3; competency, M =
3.05, SD = 1.13, Md = 3; other, M = 3.00, SD = 1.34, Md = 3), The
most consistent predictor of assessment confidence was greater ex-
perience using AV conferencing technology. This only failed to
reach statistical significance for “other’ assessments, which was
better predicted by being a psychiatrist, more recent training, and
younger age. After controlling for other possible predictors, psy-
chiatrists were more confident than psychologists only for “other”
assessments, and males were more confident than females for clin-
ical or diagnostic and competency assessments. The full results
appear in Table 2.

Perceived Competence

Overall ratings of perceived competence were broadly similar
for treatment (M = 3.40, SD = 1.08, Md = 4) and assessment tasks
(clinical, M = 3.59, SD = 1.03, Md = 4; risk, M = 3.44, SD = 1.09,
Md = 4; competency, M = 3.15, SD = 1.20, Md = 3; other, M =
3.00, SD = 1.24, Md = 3). For treatment, clinical/diagnostic and
risk assessments, analysis using the original 5-point Likert-type
perceived competence variables violated the assumption of pro-
portional odds. To address this, we recoded these variables: 1~2
became low, 3 became medium, and 4-5 became high perceived
competence.

Previous experience with AV conferencing technology consis-
tently predicted greater perceived competence with assessment
and treatment. More recent training was generally associated with
higher perceived competence for assessment and treatment,
although this relationship failed to reach statistical significance for
risk assessment. After controlling for other variables, males
reported higher perceived competence than females for most
assessment tasks, although this only reached statistical significance
for competency assessments. Psychiatrists reported higher per-
ceived competence for most tasks, but this failed to reach

statistical significance when accounting for covariates. Younger
age significantly predicted greater perceived competence for treat-
ment. Although a similar trend for age was observed for risk
assessment, this failed to reach statistical significance. See Table 3
for comprehensive results.
Satisfaction

Clinician satisfaction ratings for assessment (M = 3.28, SD =
1.15, Md = 3) and treatment (M = 3.15, SD = 1.13, Md = 3) were
equivalent. With respect to satisfaction, greater experience was
associated with greater assessment satisfaction, whereas more
recent training was related to greater satisfaction with treatment
delivered via AV conferencing technology. The results are pre-
sented in Table 4.

Clinician Concerns About the Use of Audiovisual
Conferencing Technology

Mental State Examination

Apart from appearance and behavior and affect, most partici-
pants did not believe that the use of AV conferencing compro-
mised the standard mental state examination (see Table 5). Still,
the numbers varied considerably across the elements. In terms of
within-sample differences, more psychiatrists (51%) than psychol-
ogists (34%) felt that the assessment of cognition was compro-
mised, 77(1, N = 209) = 4.85, p = 028, odds ratio (OR) = 1.99,
95% confidence interval (CI) [1.07, 3.70]. Specific concems with
the use of remote communication technologies included the fol-
lowing: limited field of view restricts observation, cannot review
discrepancies between environment and responses (e.g., to identify
responding to internal stimuli), loss of fidelity such as audio distor-
tion, compromised rapport, cannot complete physical or paper-
based testing, specific responsivity issues (e.g., ideas of reference
or paranoia regarding technology), difficult to detect and account
for possible distractions, increased difficulty with using inter-
preters, privacy concerns, and demand characteristics such as
using “phone voice” or changing interpersonal style due to
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Table 4
Predictors of Satisfaction With Audiovisual Conferencing for Assessments
Prediciors and test statistic & Wald B OR 98% CT
Satisfaction with assesament
Professional discipline 6.07 LR y= 004 BB 1,07 10.56, 2.03]
Gender identity O85 LR ys 34 067 Ls (0.96, 3.11]
Age in years O01 LR x? = O88 347 101 [0.99, 1.04]
Trained in AV technology df=? LR? = 248 294
Within last year va. none O38 Ln 9 146 10.83, 2.58]
= | year ago vs. none O45 1.29 388 136 0.73, 3.346]
Previous uses of AV technology dfx LR y= 1419 AG]
Li+ va. 0 143 13.84 <,000 4? (1.97, 8.85]
ils. 0 O89 6.20 Os 242 (E21, 4.86]
Goodness-of-fit statistic
Pearson df= 705 yo 2 G78.35 758
Deviance dfs 705 qos $18.13 > 999
Proportional odds
‘Tex of paraltel lines df 31 gi = $39.86 789
Satisfaction with treatment
Professional discipline ~ O34 LE 3 ow O68 AM O72 (6.32, L61]
Gender identity 0.06 LR g? e 0.02 882 1.06 {0.50, 2.23]
Age in years O.O1 LR y? = 039 S32 103 (0.98, 1.04]
‘Trained in AV technology df= LR y= 3.91 O52
Within last year vs. sone O81 any 08 235 [ 1.09, 4.68]
> | year ago vs. none O78 2.87 109 2.19 (0.84, 5.69]
Previous uses of AY technology df=2 LR y* = 138 5%
il+ vs. 0 0.34 0.84 36t 142 (0.67, 2.98)
1-10 va. 0 O39 0.99 a2 147 (0.69, 3.14]
Goodness-of-fit statistic
Pearson dfa 477 gy? = 489.12 341
Deviance df= 477 co = 63.98 > 999
Propartional odds
Test of parallel lines df= 21 gis 097 461

Note. OR = odds ratio: Cl = confidence interval: LR y* = chi-squared test statistic bused on likelihood ratio
for predictor in fieal model: AV = sudiovisual, df = degrees of freedom. Malncollincarity tested for each out~

come malysis. Ne qualifying cases in final analysis.

Unsuitable Client Issues or Presentations for Tele-Service
Provistan

Participants identified various clinical features and presentations
for which the use of AV technologies were unsuitable (see Table 5).
Psychologists (659) were more likely than psychiatrists (41%) to
siate thal H was unsuitable to use remote conferencing technologies
to work with these experiencing acute psychosis, y°(1, N = 227) =
10.66, p = 001, OR = 37, 95% C1L20, .68).

Impacts of Audiovisual Conferencing Technology Use
on Therapeutic Relationships

Most participants believed that the therapeutic relationship with
treatment clienls was worse using AV conferencing compared
with face-to-lace approaches (survey question: “When providing
treatment services, is die therapeutic relationship you develop with
clients better or worse than when using audio-visual conferenc-
ing?’). Ratings ranged between | Gnuch worse) and 3 (much bet-
ier), with most believing that the therapeutic relationship was
worse compared with face-to-face contacts (Mf = 2.39, 8D = 80,
QO) = 2, Md = 2, Gy = 3), Ratings did not differ between psycholo-
gists and psychiatrists. Reported satisfaction with the quality of
therapeutic relationships (survey question: “In general, are you sat-
isfied with the therapeutic relationship you have developed with

éliests using audio-visual conferencing compared to face-to-face
service delivery’) ranged between | (not af aff) and 3 (very satis-
fled Mx 3.17, SD = 1.01, Q, 3, Md = 3, Q) = 4).

Roughly a quarter of participants reported that some clients had
expressed either a preference for (n = 38, 27.1%) or concerns
about (n = 38, 26.4%) receiving treatment remotely, Participants
were given the opportunity to respond freely about the effects of
using AV conferencing on therapeutic relationships. Several key
themes emerged, with participants reporting a reduced or inconsis-
tent sense of connection, particularly with new clients and earlier
within a session; increased intimacy when clients and/or clinicians
are comfortable at home; the need to formally measure sessions
and auteomes: an increased need to verbally direct sessions io
corapensate for a reduced ability to detect nonverbal cues, a pref-
erence for remote commmmication by some clients presenting with
anxiely or avoidance, and negotiating the issues posed by addi-
tional observers or other distractions on the client end.

Limitations and Barriers to Using Audiovisual
Conferencing

Almost oll participants (99%) identilied at least one limilation
associated with using AV technologics (see Table 5). Although
most (72.3%) psychologists identified senous limitations with
gical Association or one of its allied publishexs.

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Table §

Rates of Respondents Endorsing Concerns Related to AV Conferencing

Predictors and test statistic a(R)

aC}

MSE elements compromised by using AV technology

issues unsuitable for working via AV Wwehnology

Appearance and behavior 170 78.7) Nowe LL GB)
Speech 75 (35.5) Acute psychosis 133 (58.6)
Mood 8S (41.2) Mental diness* 43 8.95
Affect 133 (61.9) Language impairment 159 (674)
Throng hst S? QTA} Language baer 140 617)
Perception $2 (39.4) Maod diseniers 187.9)
Cagnition a) (88) Acute confasion ar deGrium 164 (72.3)
Insight and judgment 7 a0 9} Substance intoxication or withdrawal 108 147.6)
Perceived limitations of working via AV technology Sensory of visual impairment 174 (75.3)
None 201.0) Cognitive impairment 128 (56.4)
Technology failure 136 (68.05 Culowal issues WGA
Poor connection or aquapment ETT (84.75 Other" 24 (10.5)
Informations paucity 145 (69.4) Bartiers tm using AV technology
Cannot administer psychological tests 123 (38.9) None 73a)
Lack confidence with technology P20
Reppert 84 (40.2)
Cthere 38 (15.4) Lack training 45 (21.0)
Additional measarcs used with AV work Lack standards 79 (36.9)
None $Q43 Cheat inshility with technology 129 (60.3)
Discuss with client 164 6.8) Poor engagement 84 (39.3)
Encrypted software 158 (76.0) Echical concems 78 G64)
Pasaword-protect data 80 38.5) Reduced efficacy 118 G3.)
Use curphones TO GET Pear of managing client crisis TS (35.0)
Show client room via camera a0 19.2) Lack equigenent 60 (28.05
ide perzonal materia] 160 (76.3) Lack bandwidth 155 (2.4)
Onher™ 33 15.9) Cannot charge clients full free 13.1)
Cther* 19 69)
More. AV « wudiovisual: MSE = Mental Status Examination.
*Syeaptame of psychopathology, including personality disorder. “For example. physical examination, autise 9p disorder, attention-delicivhyper

e

activity disorder, brain injury, clevated risk level, severe ansiety, tmuma, suicidality. * For example, risk of being overheard, technology or access prot

lems, being rushed, testing limitations, distractions, teat copyright issues, building and maintaining rapport with child clients.

“Por example, close doors,

ase only olectroni¢ notes, do net use from home, uso physical privacy sercen/ehield or virtual background, use same software/rardware as tcle-court or for
virtual legal visits t ensure equivalent level of privacy, clear deck. *Fer example, clieat reluctance to pay full fee, client privacy, technology security,
competition for equipment or software resources, lack of client access to technology, logistical issues with interpreter use.

testing, only 20.4% psychiatriats did so, 971, N= 209) = 44.52,
p< O01, OR = 10, 95% CI [05,21].

Similarly, virtually all (96.7%) participants identified at least
one barrier to using AV technology (see Table 3). Although pat-
terns of endorsement were broadly similar across disciplines, com-
pared with psychiatrists, paychologisis were more likely to
identify ethical concerns (42.1% vs. 20.0%), C1, N = 214) =
8.65, p = 003, OR « 34, 99% CI (17, 71); reduced efficacy
(61.0% vs, 38.2%), UL N = 214) = 8.61, p = 003, OR « 40,
99% CI (21, 741; a lack of formal guidelines or standards (40.9%
vg. 25.5%), UL, N = 214) = 4.18, p = 041, OR = 49, 95% Cl
1.25, 98); or financial disincentives (8.2% ve. 0%), 170, N #
214) = 4.79, p= 029, OR = 92, 95% Cl [.88, 96], an barriers.

Perceived Advantages Compared With Face-to-Face
Contact

Participants identified some significant advantages of using AV
conferencing aver conducting face-to-face sessions, including effi-
clgncy, convenience, case of access, safery, client comfort, and flexi-
bility. They believed that these features would reduce attrition and
that observing clients in thelr normal environments could deepen
understanding of their clients’ functioning. Participants were invited

to freely answer the following question: “Please list the key advan-
tages to audio-visual conferencing.” Responses focused on the fol-
lowing themes: low resource cost (¢.g.. tavel expenses, travel time,
less wasted time if session canceled or rescheduled), convenience
and ease of access (@.2., geographical reach, sessions may be impos-
sible in person, fewer unpleasant interactions with custodial stan,
and that this accessibility facilitates continuity of care), safety (eg.,
risk of assault by client, infection control), and flexibility (¢.g.. easy
io schedule or reschedule sessions, improved work~iile balance duc
to lack of travel drme), It was further reported that the increased con-
ventience of remot sessions may lead to fewer cancellations. Partici-
pants also described several advantages linked 10 working with
clients in their normal environments. Specifically, they reported tbat
clients can be more relaxed and that it ig possible to observe relevant
environmental features (c.g., pictures, decorations) that are undetect-
able when sessions are conducted in clinics or institutional locations.

Privacy and Confidentiality Concerns and Precautions
When Using Audiovisual Conferencing

When asked to comment on considerations of privacy and confi-
dentiality, a broad range of views emerged, including the follow-
ing: avoiding ot managing the presence of third-party observers,
iation, or owe of its allied publishers.

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such as prison officers, clinical staff, or houschold members (.g.,
“I do ask them io ensure nobody can hear them at their end, and
de the same at mine”; “I use headphones so other people in my
house can't hear the conversation’: “I use a separate room with a
‘seasion in progress’ sign so housemates know to avoid the area’),
contingency planning around possible technical or risk-related
issues (e.g. “very detailed risk and safety considerations prior to
commencing an assesument”: “an added full informed consent pro-
cedure about risks, emergency and crisis plan, plan if technology
fails"); transparency about measures taken, known factors limiting
privacy or confidentiality, and possible distractions (¢.g.. “Discuss
ihe teckmical aspects of platform and associated risks"). reassuring
chents (e.g. “sending unique password and link tw meeting and
locking meeting once both attending’; “I describe sitting at my
desk with ac others in the vicinity and that | am wearing head-
phones”); warning clients about threats to privacy or confidential-
ity due to possible security breaches (¢.g., “Explained the potential
security breach using VC [videoconferencing! although also states
that the system we used was the most secure available}, and
increased focus on ensuring client understanding of obligations
and limits to privacy ard confidentiality (¢.g.. “[Seek the] client's
assurance that they are not recording the session”; “Consent form
is completed remotely, so [read it out (while interrupting myself
w explain it in layman's terms with examples), and then | ask
them to explain it to me when I am finished so I can ensure that
they have understond what | have said and can actually provide
informed consent’), Participants identified measures they used wm
promote privacy and confidentiality when working with clients
over an AV connection (sce Table 5).

Adaptations to Informed Consent Procedures When
Using Audiovisual Conferencing

Participants reported making various adaplations to their stand-
ard procedures for obtaining informed consent. The most fre-
quently noted themes were focused on the increased difficulty of
using traditional physical consent forms. The 112 participants who
responded to this free-iext item identified a range of solutions for
addressing this, including the use of proxies (c.g, prison officers
ar clinical staff) to relay fons (a = 7. 6.3%), scanning signed
forms or using digital signatures (n = 9, 8.0%), and posting written
forms in advance to discuss in the session (n = 1, 995}. By far, the
most dominant theme was an increased emphasis on conducting
careful verbal consent procedures, including emphasizing the dis-
tinctive features of AV conferencing compared with face-to-face
sessions (a = 30, 26.856).

Psychological Testing and Reporting of Audiovisual
Conferencing Technology Use

Participants were asked, “What limitations, if any, did you per-
ceive 16 be asscclated with the administration of psychological
rests over audio-visual conferencing?” Key themes included issues
with performing physical asks (e.g.. block-based subtests of cog-
nitive test haeries), limited or impaired observation of the client
(e.g. duc to Hinted field of view or poor videu/audio or connec-
ion quality), difficulty with sending clients actual questionnaires,
reduced privacy, increased socially desirable responding if others
are present of the client is required to speak rather than write

responses, increased testing Gmes, limited client or clinician tech-
nological proficiency, and reduced or unknown teat validity with
adapted procedures.

Further, participants reported making a minge of adaptations to
isting protocols when performing psychological testing in conjunc-
on with AV conferencing solutions (survey question: “Please clabo-
fate on how you modified the tests and/or addressed differences in
remote vs. in-person testing conditions jeg. read the questions
allowed (sic) to client, showed client images over audio-visual"). By
fur, the most commun theme was reading test instructions of items
aloud, followed by showing visual material using cither sereen-shar-
ing or the AV stream itvelf. Also prominent was the use of specific
online testing solutions, whereas sume indicated that they provided
physical teat materisla endfor used proxies tw assist with providing
materials or superdaing wating. Another key theme was adaptations
to test selection or adiinisirabom.

‘The acknowledged adaptations required for conducting forensic
work using AW technologies, along with the resulting limitations,
were formally documented to varying degrees. Among those who
responded to all of the relevant tems on AV usage and decumen-
tation, [85 clinicians had used AV conferencing technologies. OF
these, most (1 = 168, 90.8%) acknowledged this in thelr written
reports. Despite this, almost a third of these (@ = 54, 29.3%)
merely noted their use and did not repori the perceived effects or
limitations of this practice.

How Often Was the Use of Audiovisual Conferencing
Technology Questioned by Clients or Others?

Participants reported that thei use of AY conferencing technol.
ogy was rarcly challenged with respect to cither forensic assess-
ment (9.59%) or treatment (5.6%) work.

Discussion

"This article outlines the results of a survey relating to the experi-
ences of and actinides toward remov: practice of a relatively lange,
gender-balanced, intemational sample of forensic psychologists
and psychiatrists. Data were collected during a time when, duc to
the global COVID-19 pandemic, urgent answers were being
sought about the validity and legitimacy of using tele-services to
deliver forensic services. Although a minority of participants
reported using tele-services previously, the number increased
sharply following the imposition of workplace restrictions, Nota-
bly, the reported prepandemic use of AV conferencing for forensic
assessments (36.3%) is equivalent to that reported by Batastini ct
ai. (2020; 34.896): this study's data collection predated the pan-
demic by 2 years, Almost two thirds of participants reported the
use of AV conferencing for forensic assessments since the imposi-
tion of workplace restrictions. This finding is particularly notable
because the analysis compared the usage frequencies of pamici-
pants’ entire pre-COVID-19 careers very early in the pandemic
(April-Tune 2020). It is possible that the use of tele-services has
increased even further since this time. For example, ihe Australian
state of Victoria commenced one of the world’s longest and styict-
est lockdowns searcely a month after data collection ended (Mer-
cer, 2020). The dramatic increase in the use of new and emerging
technology emphasizes the importance of investigating the impli-
cations of its use further,
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Training in Audiovisual Conferencing Technology

Although a minority of clinicians (44.8%) had received training
in the use of AV technology, many of these had done so within the
last year. Despite this rather predictable surge in training coincid-
ing, for many people, with workplace restrictions, it is noteworthy
that many participants had received training within the last 5 years
but not in the last year—that is, prior to any pandemic-related
effects, This may reflect a general increase in the acceptability of
using AV conferencing technology for forensic work and the con-
comitant proliferation of remote-conferencing technologies. There
are several possible reasons for the observed discipline differences
in the recency of training. The survey did not ask whether the most
recent training in remote-conferencing technology was the first
such training received; however, assuming that this was the case, it
may be that conducting forensic work remotely has been more ac-
ceptable among psychiatrists. If so, it follows that psychiatrists
might have received training earlier, such as when they first incor-
porated the use of remote-communication media into their regular
practice. The uptake in technology by psychiatrists may also reflect
the growing acceptance of telehealth services more generally (Caff-
ery et al., 2017).

The vast majority of trained clinicians (83.9%) had used video-
conferencing services during their work. Of potential concer was
the finding that almost half of those who had used such technology
had not been trained in its use. Because the survey did not ask
about planned training, the degree to which this training~utiliza-
tion gap reflects the rushed shift toward remote contact in the early
days of a starkly different professional ecosystem is unclear. In
other words, the group of untrained tele-service users includes an
unknown number who had commenced remote practice while
awaiting scheduled training. It is also unknown how many partici-
pants had made use of peer consultation or other supports not ex-
plicitly noted in the survey. It must also be acknowledged that
despite existing recommendations (e.g., Adjorlolo & Chan, 2015),
specific training in the use of tele-services is not currently an
accepted formal (or even de facto) requirement for their use in for-
ensic tasks. The lack of training is remarkable given some of the
concerns with tele-service provision raised by participants in this
study and the fact that many had leamed to adjust their practice to
cater to differences in the communication modality.

Certainly, the expressed preference of many participants for
face-to-face contact implies some reluctance to adopt tele-services
and some lack of confidence in its use. Further, although there is a
notion that specialized training might improve clinicians’ attitudes
toward the technology, the idea that completing such training is a
necessary precondition for using tele-services is not established.
To warrant inclusion in best-practice guidance, training should
ideally be formally accredited, prescriptive, competence based,
and sensitive to the specific issues posed by forensic mental health
work (Adjorlolo & Chan, 2015). Although it is a limitation of the
current study that we did not ask participants about training
details, exploring the nature and content of specific training pro-
grams is a fruitful area for future research toward developing
meaningful practice guidance.

It bears emphasizing that under exigent circumstances like those
of pandemic-related restrictions during 2020, setting prerequisites
for the use of tele-services for forensic practice can be a vexed eth-
ical issue. Where face-to-face practice is impossible, the relevant

comparison is not between tele-service and face-to-face contact
but between tele-service contact and no contact at all. This high-
lights the critical issue that practice guidance must consider not
only the “best case” but also the best-available solution, given
less-than-ideal conditions. This involves anticipating any adapta-
tions required to address these challenges, along with any addi-
tional limitations or caveats associated with those compromises.
Still, the obvious importance of adequate training in building both
confidence and genuine expertise is such that subsequent topics
will be discussed to some degree through the lens of training
needs.

Attitudes Toward Audiovisual Conferencing
Technology

More recent training and greater experience in the use of AV
solutions were associated with higher levels of confidence, per-
ceived competence, and satisfaction with assessment and treat-
ment. The effects of experience are broadly consistent with
previous research (Batastini et al., 2020), and the finding that train-
ing improves attitudes toward the use of tele-services makes sense,
given anticipated effects of increasing familiarity and actual com-
petence. The specific value of training recency suggests that in
addition to providing opportunities to communicate recent advan-
ces, repeated training might also boost confidence in the use of
tele-services.

Interestingly, age and gender also predicted attitudes toward the
use of tele-services. Younger clinicians reported higher perceived
competence with delivering treatment. This comfort with the tech-
nology might explain why younger forensic practitioners have pre-
viously been observed to use videoconferencing at higher rates
than their older colleagues without the immediate pressure of
workplace restrictions (Batastini et al., 2020). The picture was
more complex with respect to gender identity. Males reported
higher confidence and perceived competence for clinical and com-
petency assessments but not risk assessments, even after control-
ling for other factors. This may be due to the differing demands of
risk and other assessments. Forensic risk assessments are typically
characterized by a focus on medium- to long-term prediction; reli-
ance on multiple sources of information (e.g., clinical interview,
file information, informant); the use of relatively stable, evidence-
based predictors; and structured or even algorithmic decision mak-
ing. Although structured protocols can assist with clinical and
competency assessments, these assessments rely heavily on an
individual’s actual presentation. If the use of AV conferencing
technology compromises the ability to gauge mental state (as sug-
gested by participants in this survey), this will produce an incom-
plete clinical picture, and clinical and competency assessments
may be disproportionally affected. Put another way, if risk assess-
ments are less reliant on interviews, it holds that they would be
less affected by doubts about the quality of interview information
due to the use of tele-services. The pattem of gender differences
may thus reflect greater self-reported optimism by males under
conditions of uncertainty.

The current methodology did not allow for direct comparison
between attitudes toward face-to-face and AV-based assessments.
Still, beliefs that the use of AV conferencing compromises ele-
ments of assessment and is unsuitable for working with some clin-
ical issues were common among participants. Lacking objective
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outcome measures, we are unable to comment on the degree to
which observed age or gender differences reflect differences in
actual (rather than perceived) proficiency. Still, it bears emphasiz-
ing that training was associated with improved attitudes and stand-
ardized structure with attenuated group differences. As such, it is
plausible that appropriate training would increase self-reported
and actual competence, producing more consistently high-quality
outcomes across clinicians and contexts,

Perceived Merits and Challenges of Using Audiovisual
Conferencing

Consistent with past research, identified advantages of tele-serv-
ice over face-to-face sessions included those based on efficiency,
convenience and access, physical safety, and flexibility (Batastini
et al., 2020; Sales et al., 2018). Specific concerns about technical
issues (i.e., technology failure or a lack of proficiency), privacy,
reduced visibility of clients, testing, and the general lack of con-
crete guidelines were similarly consistent with those identified in
the literature (Adjorlolo & Chan, 2015; Dale & Smith, 2020; Kha-
lifa et al., 2008).

It is important to distinguish here between perceived limitations
and actual ones. Despite apparent clinical consensus about the lim-
itations of tele-service contact, the evidence is inconclusive about
how much these genuinely impair effective practice. Clinicians
doubt the capacity of tele-services to allow accurate inferences
about how clients are feeling. However, empathic accuracy
depends mainly on verbal and contextual cues, and early research
suggests no differences between videoconference, telephone, and
face-to-face contact (Dale & Smith, 2020). Perceived obstacles or
limitations reported by expert practitioners cannot be ignored but
must be evaluated in the context of the growing empirical litera-
ture. Where the evidence is lacking or inconclusive, the percep-
tions form a prima facie basis for further investigation. When the
evidence is plainly incompatible with such perceptions, this consti-
tutes an open invitation to incorporate this information into an
appropriate training program. Both the current results and those
reported in the literature (Batastini et al., 2020; Sales et al., 2018)
suggest that direct exposure or “hands-on” experience can also
help to allay misgivings.

The specific features and presentations that clinicians identified as
posing challenges for working via AV conferencing were character-
ized by an apparent reliance on nonverbal (e.g., appearance and
behavior) or environmental cues (e.g., reality-testing based on dis-
crepancies between actual and perceived surroundings). With respect
to specific presentations, participants were most concemed with fea-
tures that directly affect communication (e.g., language impairment,
language barrier, acute confusion, sensory or cognitive impairment).
It is worth recognizing that any such features, which interfere with
coherent verbal communication, affect the capacity to conduct effec-
tive interviews, regardless of modality. This remains true even if
these challenges are greater for tele-service contact. Although this
was not explicitly explored in the current study, it is likely that com-
munication strategies that are useful during in-person sessions (e.g.,
pointing or gesturing, observing client body language) might be diffi-
cult or impossible when relying on AV conferencing. For example,
participants emphasized the importance of verbally checking client
understanding when seeking informed consent via AV conferencing
because it was more difficult to detect nonverbal signals of

comprehension. There is a strong case for consolidating and strength-
ening the research base to inform best practice in this area. Toward
this aim, it is critical to confirm which clinical features are incompati-
ble with AV conferencing and which are compatible with appropriate
practice modifications and to identify, validate, and codify these
adaptations.

Working Alliance and Client Sentiments

Given the influence of cooperation on the quality of assessment
information and treatment outcomes, implications of tele-service
use on the therapeutic or working alliance is an area of keen inter-
est (Sales et al., 2018). Although most participants reported worse
therapeutic relationships when using AV conferencing, less than a
quarter expressed dissatisfaction. This suggests that even if the use
of tele-services reduces clinician-rated relationship quality, it is
nevertheless still sufficient, which is consistent with past research
(as reviewed in Dale & Smith, 2020). It is possible that clinicians
tend to underrate the strength of the alliance possible via tele-serv-
ices. Three quarters of current participants had no clients who had
expressed concems about AV conferencing. The survey asked
about the presence and nature of concerns expressed by even some
clients, so it is possible that clients voicing complaints were rare
even among the minority of clinicians who reported any such
issues. Indeed, more than a quarter of clinicians reported having
clients who openly preferred AV conferencing sessions for a vari-
ety of reasons, including convenience, anxiety or perceived
stigma, and capacity for increased contact frequency. The finding
that clients are more positively disposed than are clinicians to the
use of tele-services is not unprecedented, particularly among
younger clients (Dale & Smith, 2020; Sales et al., 2018) and this
discrepancy requires further research attention.

‘These findings have a number of possible implications. It is pos-
sible that clinicians are overly pessimistic (or clients are overly op-
timistic) about the working alliance during tele-servicing. Perhaps,
as speculated in Sales et al.’s (2018) review, face-to-face and tele-
service alliances are “no better or worse, just different” (p. 396).
Even if remote working alliances are truly poorer, there is growing
support for the notion that they are nevertheless often adequate to
produce good and equivalent outcomes to those of face-to-face
practice (summarized in Dale & Smith, 2020).

There is a strong case to be made that objective adequacy is
more important than equivalence when it comes to the medium of
practitioner-client contact. Even if it were conclusively demon-
strated that remote contact was valid and fit for purpose but infe-
rior to in-person contact, it would qualify as an acceptable
alternative. One trend that emerged in the current study was that
participants felt that early sessions were most important for estab-
lishing a therapeutic relationship and that this could be more easily
maintained than developed via AV conferencing. This may indi-
cate the benefits of more face-to-face contact during the early stage
of treatment, as has been suggested by some authors (Sales et al.,
2018). Some participants highlighted the need to adapt practice by
being more verbally directive to compensate for the reduced abil-
ity to detect nonverbal cues. One pointed out that relying on clini-
cians’ retrospective impressions of session and relationship quality
was flawed and might be improved by using formal rating scales.
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Choice of Tele-Service

Most participants reported using general AV conferencing solu-
tions such as Zoom and Skype. A key concern is whether such
general-purpose technologies meet the security, privacy, and con-
fidentiality requirements of forensic mental health work. Zoom
has been specifically criticized for its security (Brodkin, 2020),
and although Skype allows users to manually enable end-to-end
encryption (Al-Heeti, 2018), it is unclear how many participants
use this feature. Only a small minority used a dedicated telehealth
solution such as Coviu, dedicated inmate communication, or inte-
grated practice management technology to communicate with cli-
ents, These solutions have the benefit of being intended to meet
the relevant technological security and privacy requirements of
remote forensic consultations.

One likely reason for the widespread use of relatively insecure
technology platforms stems from direct responses to the COVID-
19 pandemic. The imposition of workplace restrictions has led to
an unexpected surge in the reliance on remote communication
technology. The urgency of these changes presumably left many
forensic mental health professionals and services scrambling to
meet levels of demand that could be challenging even under pre-
pandemic conditions (Batastini et al., 2020). It is thus possible that
the diverse, nonoptimal selection of platforms was due to the need
to respond in real time to a dramatic shift in requirements without
a dedicated preparation period. Also, security advances are being
made rapidly by the various technology services, with, for exam-
ple, Zoom implementing end-to-end encryption in November
2020 (Barrett, 2020).

A peneral lack of practically useful guidelines and policies
would have left many clinicians and health and justice services
needing to swiftly improvise solutions. To establish genuinely usa-
ble standards of best practice, it will be important to identify and
codify the requirements for tele-services to be considered suitable
for forensic practice. Ideally, this would include a curated list of
approved tele-services that have been shown to meet the standards
required for forensic mental health work. Guidance must go
beyond the choice of software (e.g., Zoom) and consider related
issues such as data transmission, AV fidelity, and data security
(Adjoriolo & Chan, 2015). Such information could be dissemi-
nated via formal guidelines or suitable training programs.

Specific Adaptations to Practice Due to Using
Audiovisual Conferencing Technology

Distinguishing client from evaluatee can be a vexed issue in the
case of forensic work, let alone that conducted via tele-services
(Adjorlolo & Chan, 2015). Even when informed consent is not,
strictly speaking, required from the evaluatee, requesting coopera-
tion, discussing limitations of confidentiality, and requesting per-
mission to access collateral records or contact informants such as
relatives can be extremely valuable. Such tactics may assist with
building trust and strengthening the working alliance. With these
considerations in mind, the current participants acknowledged that
obtaining informed consent via AV conferencing can be challeng-
ing. Reported changes to informed consent procedures emphasized
interactive, verbal consent processes and the need to use mail,
proxies, and electronic signatures to allow the use of conventional
forms. With respect to privacy and confidentiality, most

participants discussed medium-specific considerations with clients,
used secure software, hid personal material from view, and
encouraged or facilitated similar measures at the client’s location.
Clinicians emphasized the importance of managing the risk of
being overheard, contingency planning for risk or technical issues,
transparent and reassuring communication with clients, disclosing
risks associated with security breaches, and ensuring client under-
standing of obligations and limits to privacy and confidentiality.
Meanwhile, others relied on institutional norms or expressed con-
cerns about the limited privacy afforded to those in forensic
settings.

Ultimately, these responses largely reflect the practical realities
and difficulties of delivering services to forensic populations using
tele-services. The fundamental requirement of any remote commu-
nication technology is that all parties have adequate access to the
relevant hardware and software. Community-based clients might
be able to access telephones, computers, and the Internet privately
(e.g., from home); however, those based in institutional settings
may not have unmonitored access to the relevant technology. This
poses distinctive challenges to privacy for such clients. Although
privacy is limited for those in institutional settings, in-person pro-
fessional visits still typically provide greater privacy than AV con-
ferencing. Participants commonly expressed concern about third-
party observers. Potential advantages of in-home assessment via
tele-services notwithstanding, pitfalls might stem from a lack of
control or knowledge of an evaluatee’s behavior or environment if
this falls “out of frame.” The notion that individuals might be
more prone to deception when they are less visible is plausible,
although the preliminary finding that empathic accuracy may be
unimpaired by mode of communication (videoconference, tele-
phone, or face to face) is promising (Reese et al., 2016).

In addition to access, the quality and stability of the relevant
technology are also critical to the viability of forensic assessment
and treatment conducted via AV conferencing technology. Partici-
pants reported discussing the prospect of technology failure with
clients and seeking to reestablish contact, reschedule, or cancel
sessions when necessary. Perhaps the most interesting finding was
that some participants reported that the shared adversity of tech-
nology failure actually improved their therapeutic bonds. The
reported adaptations to normal practice appear to reflect good-
faith, commonsense attempts to address practical challenges faced
when delivering conventional in-person services remotely. Still,
the heterogeneous, improvised character of such changes invites
the development and dissemination of more standardized and rig-
orous practical guidance.

Psychological Testing and Reporting the Use of AV
Conferencing

With respect to formal psychological testing, participants high-
lighted a range of practical challenges related to observation, rap-
port, and the demands of specific assessment tasks. They reported
that the use of tele-services influenced both test selection and
administration protocols. It is appropriate that the mode of deliv-
ery (i.¢., remote vs. in person) is a critically important factor in
psychological testing. If the medium used requires a departure
from standardized administration procedures, this can limit the va-
lidity of the assessment (Adjorlolo & Chan, 2015). Despite this, it
is also important not to simply abandon tests that were designed
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and validated for face-to-face administration. Previous research
broadly supports the validity of neuropsychological testing by vid-
eoconference, particularly for verbally mediated tasks, although
the evidence for motor-dependent tasks is inconclusive (Brearly et
al., 2017). It is also plausible, although unproven, that many stand-
ardized questionnaire-style tests might be easily adapted to remote
administration by, for example, reading items aloud, sending
printed materials by post, or through computerized testing solu-
tions. Each of these methods was endorsed by some participants.

If nothing else, it is clearly important that adapted procedures
and any associated limitations be acknowledged because these may
limit the confidence of conclusions relying on such assessments.
Although almost all participants acknowledged the use of AV tech-
nology for forensic assessment and treatment in formal reporting, a
significant minority indicated that they failed to outline any related
limitations in their reports. This may be because these limitations
have not been elucidated or are not widely known.

It is possible that some clinicians believe that the limitations of
shifting from face-to-face to remote sessions are self-evident and
hence unnecessary to report. Certainly, the current results suggest
that clinicians have little difficulty with identifying potential issues
or challenges posed by the change of medium. Stil, an assumption
of self-evident limitations would appear to be ill-founded in the
context of an expert-witness model. This leaves it to legal advo-
cates, decision makers, or clients to recognize and, when appropri-
ate, challenge the use of AV conferencing technology. For such
challenges to be valid, they necessarily rely on a certain special-
ized knowledge of how the choice of medium might affect out-
comes. Possession of this knowledge might be reasonably
expected of the experts conducting such assessments but not of
others. At best, omitting information that affects the confidence of
expert conclusions is unhelpful. In practice, participants reported
that their use of AV conferencing technology was very rarely chal-
lenged, and when it was, this was typically not done by decision
makers, more often falling to clients or others.

Another possibility is that clinicians fail to report perceived lim-
itations due to the medium of assessment because they have sim-
ply not been told to report them. In other words, the general lack
of clear, well-known, and established reporting guidelines for the
use of AV conferencing technology is to blame. Although this
may seem more benign or at least less deserving of censure than
the assumption of self-evidence, it has similar practical implica-
tions. Clearly, there is a need to disseminate appropriate guidance
to promote consistently adequate reporting, perhaps through struc~
tured programs of training.

Conclusions

The COVID-19 pandemic has forced forensic mental health
professionals and institutions to deliver services remotely via tele-
services. The pace of this change has contributed to some anxiety
and heterogeneity in practice as providers improvised solutions to
unique challenges. The results of this survey show that a large,
gender-balanced, international sample of forensic psychologists
and psychiatrists perceived significant advantages as well as some
challenges to the use of tele-services in place of face-to-face con-
tact for forensic assessment and treatment work. Scrutiny of the
results reveals an unexpected level of complexity that is valuable
for informing emerging best practice. It is important that guidance

is developed for when and how to best incorporate AV conferenc-
ing into routine practice. This will require a clear acknowledgment
of its relative strengths and limitations, along with any required
adaptations associated with this medium. Despite challenges to the
incorporation of AV conferencing into routine forensic work, best-
practice guidance is required. Some solutions for technological
privacy and informed consent are proposed here, but these sugges-
tions require testing and refinement. Guidance must also offer rec-
ommendations for the best available options when such exemplars
are impossible and specify the nature and consequences of any
compromises. Although the current findings do not constitute nec-
essary and sufficient best-practice guidelines, they contribute to a
critical foundation from which further research can be conducted
and guidelines can be developed.

Perhaps the most important issue highlighted is the urgent need to
develop programs to educate practitioners in the technical and prac-
tical aspects of remote practice. Such programs should be reviewed
and revised in response to the growing evidence base. Many clini-
cians are reluctant to fully incorporate tele-service use into their rou-
tine practice. Periodic training, perhaps linked to formal professional
development, would promote confidence and skill with the available
technologies and provide an environment to disseminate recent
advances. Such programs would benefit from a practical approach
that (a) openly addresses both ideal-case best practice and likely
compromises; (b) incorporates guidance about prerequisites for
remote setvice delivery (see, e.g., Adjoriolo & Chan, 2015); (c) ex-
plicitly addresses the required features of an acceptable tele-service
solution, with a curated list of acceptable options; (d) dispels com-
mon myths about the use of tele-services; (e) transparently outlines
testing considerations in light of contemporary research, including
test selection and endorsed testing adaptations and limitations; and
(f) clearly outlines standard protocols for reporting the use and limi-
tations of tele-services for forensic practice.

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